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             EXHIBIT F
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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                        (Palm Beach Division)

                                  Case No. 9:19-CV-80633-ROSENBERG


   SECURITIES AND EXCHANGE COMMISSION,

           Plaintiff,

   v.

   NATURAL DIAMONDS INVESTMENT CO.,
   et al.,

           Defendants,

   H.S. MANAGEMENT GROUP LLC, et al.,

         Relief Defendants.
   ______________________________________________/

                      ORDER GRANTING FIRST APPLICATION FOR
                 ALLOWANCE OF COMPENSATION AND REIMBURSEMENT
                OF EXPENSES TO THE RECEIVER AND HIS PROFESSIONALS

           THIS CAUSE is before the court upon the First Application of Jeffrey C. Schneider, not

   individually, but solely in his capacity as the court-appointed receiver (the “Receiver”),1 for

   Allowance of Compensation and Reimbursement of Expenses to the Receiver and his

   Professionals [DE 133] (the “First Application”).                The Court, having reviewed the First

   Application, having been advised of the parties’ positions with respect thereto, and being otherwise

   duly advised in the premises, hereby ORDERS AND ADJUDGES as follows:

           1.       The Motion is GRANTED.

           2.       The Court authorizes the Receiver to make the following payments from the Argyle

   receivership bank account.



   1
     On May 16, 2019, this Court appointed Mr. Schneider as receiver for Argyle Coin, LLC [DE 20]. On July 11, 2019,
   this Court granted the Receiver’s Motion to Expand Receivership to include Natural Diamonds Investment Co. and
   Eagle Financial Diamond Group, Inc. a/k/a Diamante Atelier [DE 97, 104].
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              (a) The Receiver is authorized to pay himself compensation in the amount of

                  $12,640.00; and his law firm compensation in the amount of $9,295.00 and

                  reimbursement of expenses in the amount of $4,720.48 (for a total of $26,655.48).

              (b) The Receiver is authorized to pay Sallah Astarita & Cox, LLC compensation in the

                  amount of $12,956.00.

              (c) The Receiver is authorized to pay Silver Law Group compensation in the amount

                  of $1,580.00.

          DONE and ORDERED in Chambers in Palm Beach County, this ___ day of

   _____________, 2019.

                                                      __________________________________
                                                      ROBIN L. ROSENBERG
                                                      UNITED STATES DISTRICT JUDGE



   Copies furnished to all counsel of record
